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                                                                                                                  ☐ Check if this is a modified
Fill in this information to identify your case:
                                                                                                                        plan, and list below the
Corey Latroy Stevens                                                                                                    sections of the plan that have
aka Corey Stevens                                                                                                       been changed.
xxx-xx-7201
                                                                                                                  ☒        Pre-confirmation modification
Shantea Marie Powe
aka Shantea M. Powe, Shantea Powe                                                                                 ☐       Post-confirmation
xxx-xx-6595                                                                                                             modification

217 Ashley Ann Lane                                                                                               3.2
Ladson, SC 29456

United States Bankruptcy Court for the: District of South Carolina
Case number: 20-02797-jw




 District of South Carolina
 Chapter 13 Plan                                                                                                                                      05/19


  Part 1:      Notices

 To Debtors:      This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                  indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                  Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                  In the following notice to creditors, you must check each box that applies.

 To Creditors:    Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                  You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                  an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                  requested in this document.
                  If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                  confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or applicable
                  Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                  is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                  claim in order to be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.
                  The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                  includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                  be ineffective if set out later in the plan.


    1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                ☒ Included       ☐ Not included
            payment or no payment at all to the secured creditor

    1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                 ☐ Included       ☒ Not included
            Section 3.4

    1.3     Nonstandard provisions, set out in Part 8                                                                      ☒ Included       ☐ Not included

    1.4     Conduit Mortgage Payments: ongoing mortgage payments made by the trustee through plan, set                     ☐ Included       ☒ Not included
            out in Section 3.1(c) and in Part 8
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Debtor:                                                                                                                                    Case Number:

 Part 2:      Plan Payments and Length of Plan



2.1 The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary for the
     execution of the plan.
     Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
     follows:

      $450 per month for 57 months.
The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to the
plan. The stipulation is effective upon filing with the Court.
Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


2.2 Regular payments to the trustee will be made from future income in the following manner:

     Check all that apply.
     ☐     The debtor will make payments pursuant to a payroll deduction order.
     ☒     The debtor will make payments directly to the trustee.
     ☐     Other (specify method of payment):____________________________.


2.3 Income tax refunds.

     Check one.
     ☒     The debtor will retain any income tax refunds received during the plan term.

     ☐     The debtor will treat income tax refunds as follows:

            ____________________________________________________________________________________________________
           _____________________________________________________________________________________________________

2.4 Additional payments.

     Check one.
     ☒     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims


To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if
a claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended,
shall be treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection
of the automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account
of any secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection
of the automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole
reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to
these provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who
has filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1 Maintenance of payments and cure or waiver of default, if any.
     Check all that apply. Only relevant sections need to be reproduced.
     ☒    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.


3.2 Request for valuation of security and modification of undersecured claims. Check one.

     ☐ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

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Debtor:                                                                                                                                          Case Number:
           The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

      ☒ The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental secured claim listed
below, the debtor states that the value of the secured claim should be as set out in the column headed Estimated amount of secured claim. For
secured claims of governmental units, unless otherwise ordered by the Court after motion or claims objection filed after the governmental unit files
its proof of claim or after the time for filing one has expired, the value of a secured claim listed in a proof of claim filed in accordance with the
Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest
at the rate stated below.

           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5.1 of
this plan. If the estimated amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its
entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on
the proof of claim controls over any contrary amounts listed in this paragraph.
           Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by section 1325(a)(5)(B)(i).
Unless there is a non-filing co-debtor who continues to owe an obligation secured by the lien, any secured creditor paid the allowed secured claim provided
for by this plan shall release its liens at the earliest of the time required by applicable state law, order of this Court, or thirty (30) days from the entry of the
discharge.
  Name of              Estimated             Collateral           Value of          Amount of            Estimated           Interest rate         Estimated
  creditor             amount of                                  collateral        claims senior        amount of                                 monthly
                       creditor’s total                                             to creditor’s        secured claim                             payment to
                       claim                                                        claim                                                          creditor
                                                                                                                                                   (disbursed by
                                                                                                                                                   the trustee)

 Capital Funding      $26,092             1987                 $11,000              $0                  $11,000              5.75%               $220
 Corp.                                    Fleetwood                                                                                              (or more)
                                          14x70 foot
                                          mobile home

3.3 Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.
     Check one.
     ☒     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien avoidance.
     Check one.
     ☒      None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

3.5 Surrender of collateral.
     Check one.
     ☒ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:        Treatment of Fees and Priority Claims

4.1 General

The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular payments
on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the Court. Trustee’s
fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without postpetition interest.
4.2 Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3 Attorney’s fees

           a.    The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure statement
                 filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be disbursed by
                 the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall disburse a dollar
                 amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the balance of the attorney’s
                 compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining each month after payment of trustee
                 fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In instances where an attorney assumes
                 representation in a pending pro se case and a plan is confirmed, a separate order may be entered by the Court, without further notice,
                 which allows for the payment of a portion of the attorney’s fees in advance of payments to creditors.


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Debtor:                                                                                                                                        Case Number:
           b.     If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                  applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in
                  trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has received $______
                  and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_______ or less.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
    The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a pro rata
    basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.
    Check box below if there is a Domestic Support Obligation.
    ☐ Domestic Support Claims. 11 U.S.C. § 507(a)(1):

            a.     Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name of DSO recipient), at the
                   rate of $_________ or more per month until the balance, without interest, is paid in full. Add additional creditors as needed.
            b.     The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis directly to the
                   creditor.
            c.     Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those obligations from property that
                   is not property of the estate or with respect to the withholding of income that is property of the estate or property of the debtor for payment
                   of a domestic support obligation under a judicial or administrative order or a statute.


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
    Check one.
    ☒ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

  Part 5:         Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified. Check one.

    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
    available after payment of all other allowed claims.

    ☒ The debtor estimates payments of less than 100% of claims.
    ☐ The debtor proposes payment of 100% of claims.
    ☐ The debtor proposes payment of 100% of claims plus interest at the rate of ___%.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

    ☒ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


5.3 Other separately classified nonpriority unsecured claims. Check one.

    ☒ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

    ☐ Other. An unsecured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in Section 1.3 of this
    plan is checked and a treatment is provided in Section 8.1.

 Part 6:         Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
    contracts and unexpired leases are rejected. Check one.

    ☐ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
      ☒ Assumed items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any contrary court order
or rule. Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.
 Name of creditor                  Description of leased             Current installment           Estimated amount of          Estimated monthly
                                   property or executory             payment                       arrearage through            payment
                                   contract                                                        month of filing or           on arrearage to be
                                                                                                   conversion                   disbursed by the trustee
 Sineath Estates MHP               Residential mobile home lot       $318                          $2,744                       $45

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Debtor:                                                                                                                                     Case Number:


                                                                                                                               (or more)
 Part 7:      Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor as stated below:
     Check the applicable box:
    ☒       Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall remain
           with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate. The debtor is
           responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the plan is intended to
           waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the debtor.
    ☐       Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective only if
           the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.
 Part 8:      Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

     ☐ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in this
form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.


By signing this plan, I verify my understanding of the following:

     1.    The obligations set forth in the plan, including the amount, method, and timing of payments made to the trustee or directly to

creditors.

     2.    The consequences of any default under the plan.

     3.    That I may not agree to sell or sell property, employ professionals, or incur debt (including modification of debt) during the term of

the plan without the advance authorization of the Bankruptcy Court.

 Part 9:      Signature(s)


9.1 Signatures of the debtor and the debtor’s attorney



Date:      September 11, 2020                                             /s/ Corey Latroy Stevens
                                                                          Corey Latroy Stevens, Debtor

Date:      September 11, 2020                                             /s/ Shantea Marie Powe
                                                                          Shantea Marie Powe, Debtor

                                                                          DeMOTT LAW FIRM, P.A.
                                                                          Attorneys for Debtor(s)

Date:     September 11, 2020                                   By:        /s/ Russell A. DeMott
                                                                          Russell A. DeMott
                                                                          District Court I.D. 10020
                                                                          DeMott Law Firm, P.A.
                                                                          300 N. Cedar Street, Suite A
                                                                          Summerville, SC 29483

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.


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